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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA

                            Case No.11-62607-CV-W ILLIAM S


  W ILLIAM TAYLO R,

          Plaintift
  VS.

  EM ERALD THAI,INC.and ARREL
  ENTERPRISES,INC.,

          Defendants.
                             /

                      ORDER REFERRING M OTIO N TO MAG ISTRATE
          THIS M ATTER is before the Court on Stipulation to Approve Consent Decree

  (DE 17). Pursuantto 28 U.S.C.j 636 and the Magistrate Rules ofthe LocalRules of
  the Southern DistrictofFlorida,the Courthereby REFERS the m otion to United States

  M agistfate Judge Barry S.Seltzerforappropriate disposition.

          oosEANo ORDERED inchambersinMi
                                       ami,Flori
                                               da,thi
                                                    s/.
                                                      u- ayofMarch,
  2012.




                                               KATHLE N .W ILLIAM S
                                               UNITED S ATES DISTRICT JUDG E

  cc:     CounselofRecord
